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                     EXHIBIT 7
Case 3:17-cv-00072-NKM-JCH Document 272-8 Filed 03/14/18 Page 2 of 3 Pageid#: 1894



    From:                  JoelH@vawd.uscourts.gov
    To:                    Christopher Greene
    Cc:                    Levine, Alan; bryan@bjoneslegal.com; David Campbell; Gabrielle Tenzer; hoppe.ecf@vawd.uscourts.gov;
                           isuecrooks@comcast.net; James Kolenich; Julie Fink; KarenD@vawd.uscourts.gov; Karen Dunn; Mike Peinovich;
                           Philip Bowman; Roberta Kaplan
    Subject:               Re: Sines v. Kessler - Case No. 17 Civ. 72
    Date:                  Tuesday, March 6, 2018 3:58:16 PM


    Counsel and parties,
    During the scheduling conference on March 16, I intend to discuss discovery in this case and my
    procedures for addressing discovery disputes. I certainly expect that you all will adhere to the Federal
    Rules of Civil Procedure and, for any discovery dispute, that you confer with the opposing party before
    bringing the matter to my attention.
    I look forward to talking with you all on March 16.
    Sincerely,
    Joel Hoppe




    From:  
 Christopher Greene <cgreene@kaplanandcompany.com>
    To:  
 "hoppe.ecf@vawd.uscourts.gov" <hoppe.ecf@vawd.uscourts.gov>, "KarenD@vawd.uscourts.gov"
    <KarenD@vawd.uscourts.gov>
    Cc:  
 David Campbell <DCampbell@dhgclaw.com>, "isuecrooks@comcast.net" <isuecrooks@comcast.net>, James Kolenich
    <jek318@gmail.com>, "bryan@bjoneslegal.com" <bryan@bjoneslegal.com>, Mike Peinovich <mpeinovich@gmail.com>, Roberta Kaplan
    <rkaplan@kaplanandcompany.com>, "Julie Fink" <jfink@kaplanandcompany.com>, Gabrielle Tenzer
    <gtenzer@kaplanandcompany.com>, "Levine, Alan" <alevine@cooley.com>, "Karen Dunn" <KDunn@BSFLLP.com>, Philip Bowman
    <pbowman@bsfllp.com>
    Date:    
 03/02/2018 04:01 PM
    Subject:  
  Sines v. Kessler - Case No. 17 Civ. 72




    Dear Judge Hoppe,

    Plaintiffs in the above-captioned matter write concerning a pressing discovery issue that has recently arisen. For the
    reasons set forth below, Plaintiffs respectfully request that the Court: (1) deny Defendant Michael Peinovich’s
    motion to stay discovery, ECF No. 224; and (2) order Defendants to (a) respond to Plaintiffs’ discovery requests by a
    date certain (with the exception of Defendant James Alex Fields – see below); and (b) preserve information relating
    to this action and confirm in writing that they are in compliance with their obligation to do so. Plaintiffs also
    respectfully request that, to ensure that Defendants are complying with their preservation obligation going forward,
    the Court order Defendants to immediately: (1) take all necessary steps to have any of Defendants’ computers,
    mobile devices, and other electronic devices and data, including webmail, social media, and cloud storage accounts,
    that may contain information relating to this action imaged by a third party vendor agreed upon by Plaintiffs; and (2)
    stop the deletion of and immediately recover any social media accounts or data containing information relating to
    this action that Defendants have deleted or attempted to delete. Plaintiffs understand that certain social media
    platforms permit users to reverse account deletion if the request is made by the user within days of the initial
    deletion.

    This week, Defendants Michael Peinovich and David Parrott have each made public, on-line statements stating
    either that they may have deleted relevant information relating to this case that has been requested in discovery,
    that they intend to do whatever is necessary to prevent disclosure, or that others should take similar or related
    actions. Evidence of those statements is attached. In Exhibit A (found on Gab, a Twitter-like social media site),
    Defendant Peinovich states, among other things, that he had begun the process of deleting his Facebook account
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    (although he later “resurrected” it), would “do whatever [he] can to not have to produce” materials from his
    Facebook account, and “do[es] not expect to ever turn over this info.” In Exhibit B (found on Twitter), Defendant
    Parrott encourages others “involved in any altercation in Cville” to disable their social media. In addition, with the
    exception of Defendant Fields (who has filed his own motion to stay discovery, ECF No. 233), Defendants have failed
    to timely respond or object to Plaintiffs’ January 25, 2018 discovery requests. Plaintiffs therefore have serious
    concerns about the loss or deletion of information relating to this case, as previously expressed in Plaintiffs’
    opposition to Defendant Peinovich’s motion to stay discovery. See ECF No. 240 at 7.

    Plaintiffs are submitting this email based on the understanding from Your Honor’s courtroom deputy, Ms. Karen
    Dotson, that the Court prefers to address discovery disputes without the filing of formal motions. We defer to the
    Court’s direction on how best to proceed.

    Respectfully submitted,

    Christopher B. Greene
    Kaplan & Company, LLP
    (929) 294-2528


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    have received this communication in error, please notify the sender immediately and destroy all copies of the message from your
    computer system. Thank you.[attachment "Exhibit A.pdf" deleted by Joel Hoppe/VAWD/04/USCOURTS] [attachment "Exhibit B.pdf"
    deleted by Joel Hoppe/VAWD/04/USCOURTS]
